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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION

 910 E MAIN LLC D/B/A QUARTER                  )       Civil Action No. 6:20-cv-00965
 TAVERN, ET AL.                                )
                                               )       District Judge Robert R. Summerhays
                                               )
 VERSUS                                        )       Magistrate Judge Patrick J. Hanna
                                               )
 GOVERNOR JOHN BEL EDWARDS                     )
 and H. “BUTCH” BROWNING, JR.                  )       JURY DEMAND


               NOTICE OF EXPEDITED APPEAL TO THE FIFTH CIRCUIT

        In accordance with 28 U.S.C. § 1292(a)(1), notice is hereby given that Plaintiffs, (i) 910 E

 Main 33, LLC d/b/a Quarter Tavern, (ii) Big Dan’s Bar, Inc., (iii) City Bar, Inc., (iv) CKBCPB5

 LLC d/b/a The Chatter Box, (v) Doug McCarthy Enterprises Inc. d/b/a 501, (vi) My Place Bar &

 Grill, L.L.C., (vii) Pool Do’s Sports Bar LLP, (viii) Sandi’s Anchor Lounge, L.L.C. d/b/a Da

 Camp, (ix) SoCo Sports Bar, LLC, (x) Tipsy Cajun, LLC, and (xi) Wanous, L.L.C. d/b/a AJ’s 2nd

 St. Pub, appeal to the United States Court of Appeals for the Fifth Circuit from the Memorandum

 Ruling and Order denying Plaintiffs’ motion for preliminary injunctive relief entered in this action

 on the 21st day of August, 2020 (ECF Nos. 47 and 48). Pursuant to Fed. R. App. P. 2 and 5th Cir.

 R. 34.5, Plaintiffs will be filing a Motion to Expedite Appeal with the Fifth Circuit.

 DATED: August 25, 2020                Respectfully submitted,

                                       FAIRCLOTH MELTON SOBEL & BASH, LLC


                                       By:     /s/ Jimmy R. Faircloth, Jr.
                                               Jimmy R. Faircloth, Jr.     (T.A.) (La. #20645)
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                                                ATTORNEYS FOR PLAINTIFFS



                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I presented the above and foregoing Plaintiffs’ Notice of Appeal

 to the Fifth Circuit for filing and uploading to the CM/ECF system which will send electronic

 notification of such filing to all counsel of record.

         Alexandria, Louisiana, this 25th day of August, 2020.


                                      /s/ Jimmy R. Faircloth, Jr.
                                            OF COUNSEL




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